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                                                                Lathrop Decl. Ex. 4



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                 UNITED STATES DISTRICT COURT

     2                DISTRICT OF MINNESOTA

     3
                          Civil File No. 07-4929 (JMR/FLN)
     4
         Katie J. Felder, as trustee for the
     5   next of kin of Dominic Aries Felder,

     6               Plaintiff,

     7   vs.

     8    Jason King, individually, and in his official
         capacity as a City of Minneapolis Police Officer;
     9    Lawrence Loonsfoot, individually, and in his
         official capacity as a City of Minneapolis Police
    10     Officer, and; the City of Minneapolis,

    11               Defendants.

    12

    13

    14

    15            DEPOSITION OF JASON WAYNE KING,

    16   taken before Rhonda Olynyk, a Notary Public in

    17   and for the County of Scott, State of Minnesota,

    18   on June 11,2008, at the law offices of Schaefer Law

    19    Firm, 1700 U.S. Bank Plaza, 220 South Sixth Street,

    20   Minneapolis, Minnesota, commencing at 1:05 p.m.

    21
                 •           •      •
   22

   23                  Rhonda Olynyk
                   ANDERSON & ASSOCIATES
   24           247 Third Avenue South - Suite 7
                Minneapolis, Minnesota 55415
   25            (612) 338-8661 (651) 227-1223


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              why I asked for it back.

     2   Q.    Can I just see your -- can you just show me your

     3        hand -- is that the same gun?

     4   A. No.

     5   Q.    Oh, it's a different one. Never mind then. I don't

     6        want to see it. I don't need to see it.

     7           What happened to the weapon that was involved in

     8        the shooting? You just got a different one or you

     9        have more than one that you --

    10   A. When I got it back, it never worked right again.

    11   Q. Okay. Is it your testimony, sir, that -- well, never

    12        mind.

    13           At any time did you ever strike Mr. Felder on the

    14        face or the side of his head?

    15   A. No.

    16   Q.    Okay. Did Officer Loonsfoot?

    17   A. Not that I recall.

    18   Q.    So when Offic.er Graham went up -- it's your testimony

    19        that it was Officer Graham and not Officer Loonsfoot

    20        or yourself that cuffed Mr. Felder?

    21   A. From what I remember, yeah.

    22   Q. Why would you cuff or put handcuffs on a dead person?

    23   A. Because we don't know if he's dead or noi.

    24   Q.    I thought you said that you're reasonably cerlain that

    25        he was dead.


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